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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

DAVID BROOKS,                                                )
                                                             )
       Plaintiff/ Counter-Defendant                          )
                                                             )
v.                                                           )         Case No: 7:19CV599
                                                             )
RISK MANAGEMENT PROGRAMS, INC.,                              )
                                                             )
       Defendant /Counter-Plaintiff.                         )

                           JOINT STIPULATION OF DISMISSAL

       NOTICE IS HEREBY GIVEN that, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules

of Civil Procedure, the parties hereby jointly stipulate to the dismissal of the above-captioned

action with prejudice. Each party shall bear its own fees and costs.

       Respectfully submitted this 25th day of September, 2019.



STIPULATED TO:

/s/ Jennifer D. Royer_______________                 /s/ Melvin E. Williams_______________
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